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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
                                    www.flmb.uscourts.gov


In re:                                                             Case No.: 8:20-BK-07807-CPM
                                                                   Chapter 7
Robert Lee Buttrey III
Gaylynn Gay Buttrey

         Debtors.
                                /

                                    MOTION TO REOPEN CASE

       COME NOW the Debtor(s), Robert Lee Buttrey III and Gaylynn Gay Buttrey, by and
through the undersigned attorney and hereby states as follows:

         1. The debtors filed a Chapter 7 Bankruptcy Petition Case on October 20, 2020.

         2. The case discharged and closed on January 22, 2021.

         3. The Debtors wish to reopen their case to file an Amended Schedules E/F to add an

            additional creditor.

         4. Debtors need to include the following debt incurred prior to the Chapter 7 petition:

            First National Collection Bureau, Inc.
            50 W Liberty St Suite 250
            Reno NV 89501-0000

         5. No prejudice will flow to this case if this Motion is granted.


         WHEREFORE, the Debtors respectfully request that this Court enter an Order Granting

Debtor’s Motion to Reopen Case and to allow the Debtor to file an Amended Schedules E/F.

                                        CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Reopen
Case has been furnished by U. S. mail and electronic filing to Dawn A Carapella, Chapter 7
Trustee; U.S. Trustee, Timberlake Annex, Suite 1200, 501 E Polk Street, Tampa, FL 33602-
3949; Creditor, First National Collection Bureau, Inc., 50 W Liberty St Suite 250, Reno NV
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89501-0000and all creditors and parties in interest on the attached mailing matrix this 8th day of
June, 2022.

                                              Respectfully submitted,

                                              /s/ WALTER F. BENENATI
                                              Walter F. Benenati
                                              Florida Bar No.: 46679
                                              Law Offices of Walter F. Benenati
                                              2702 East Robinson Street
                                              Orlando, Florida 32803
                                              Telephone: (407) 777-7777
                                              Facsimile: (407) 236-7667
                                              Attorney for Debtor
                                              Email: wfb@777lawfirm.com
